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                            IN THE UNITED STATES DISTRICT COURT
                                NORTHERN DISTRICT OF TEXAS
                                      DALLAS DIVISION


 LA’TONYA WILLIAMS, on behalf of herself                Case No.: 3:24-cv-02714
 and all others similarly situated,

              Plaintiff,

    v.

 LANDMARK ADMIN, LLC and LIBERTY
 BANKERS INSURANCE GROUP,
                                                        DEMAND FOR A JURY TRIAL
              Defendants.


                                   CLASS ACTION COMPLAINT


         Plaintiff La’Tonya Williams (“Plaintiff”) brings this Class Action Complaint

(“Complaint”) against Landmark Admin, LLC (“Landmark”) and Liberty Bankers Insurance

Group (“LBIG”) (collectively "Defendants") as an individual and on behalf of all others similarly

situated, and alleges, upon personal knowledge as to her own actions and her counsels’

investigation, and upon information and belief as to all other matters, as follows:

                                       SUMMARY OF ACTION

         1.        Plaintiff brings this class action against Defendants for their failure to properly

secure and safeguard sensitive information of Plaintiff and Class Members.

         2.        Landmark is a third-party administrator for insurance carriers.

         3.        LBIG is an insurance group that includes numerous insurance companies, including

American Monumental Life Insurance Company, Pellerin Life Insurance Company, American

Benefit Life Insurance Company, Liberty Bankers Life Insurance Company, Continental Mutual

Insurance Company, and Capitol Life Insurance Company.



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        4.      Plaintiff’s and Class Members’ sensitive personal information—which they

entrusted to Defendants on the mutual understanding that Defendants would protect it against

disclosure—was targeted, compromised and unlawfully accessed due to the Data Breach.

        5.      Landmark collected and maintained certain personally identifiable information and

protected health information of Plaintiff and the putative Class Members (defined below), who are

(or were) customers at Landmark’s clients, including LBIG.

        6.      The information compromised in the Data Breach included Plaintiff’s and Class

Members’ full names, driver’s license numbers, passport numbers, and tax identification numbers

(“personally identifiable information” or “PII”) and medical information, which is protected health

information (“PHI”, and collectively with PII, “Private Information”) as defined by the Health

Insurance Portability and Accountability Act of 1996 (“HIPAA”).

        7.      The Private Information compromised in the Data Breach was exfiltrated by cyber-

criminals and remains in the hands of those cyber-criminals who target Private Information for its

value to identity thieves.

        8.      As a result of the Data Breach, Plaintiff and approximately 806,000 Class

Members, 1 suffered concrete injuries in fact including, but not limited to: (i) invasion of privacy;

(ii) theft of their Private Information; (iii) lost or diminished value of Private Information; (iv) lost

time and opportunity costs associated with attempting to mitigate the actual consequences of the

Data Breach; (v) loss of benefit of the bargain; (vi) lost opportunity costs associated with

attempting to mitigate the actual consequences of the Data Breach; (vii) Plaintiff’s Private

Information being disseminated on the dark web, according to Credit Karma and Experian; (viii)

experiencing an increase in spam calls, texts, and/or emails; (ix) nominal damages; and (x) the


1
                     https://www.maine.gov/agviewer/content/ag/985235c7-cb95-4be2-8792-
a1252b4f8318/2bd97a04-38be-40f1-94fd-9d143ea4bc9f.html

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continued and certainly increased risk to their Private Information, which: (a) remains unencrypted

and available for unauthorized third parties to access and abuse; and (b) remains backed up in

Defendants’ possession and is subject to further unauthorized disclosures so long as Defendants

fail to undertake appropriate and adequate measures to protect the Private Information.

       9.      The Data Breach was a direct result of Defendants’ failure to implement adequate

and reasonable cyber-security procedures and protocols necessary to protect consumers’ Private

Information from a foreseeable and preventable cyber-attack.

       10.     Moreover, upon information and belief, Defendants were targeted for a cyber-

attack due to its statuses as insurance companies and insurance administrators that collect and

maintain highly valuable Private Information on its systems.

       11.     Defendants maintained, used, and shared the Private Information in a reckless

manner. In particular, the Private Information was used and transmitted by Defendants in a

condition vulnerable to cyberattacks. Upon information and belief, the mechanism of the

cyberattack and potential for improper disclosure of Plaintiff’s and Class Members’ Private

Information was a known risk to Defendants, and thus, Defendants were on notice that failing to

take steps necessary to secure the Private Information from those risks left that property in a

dangerous condition.

       12.     Defendants disregarded the rights of Plaintiff and Class Members by, inter alia,

intentionally, willfully, recklessly, or negligently failing to take adequate and reasonable measures

to ensure its data systems were protected against unauthorized intrusions; failing to take standard

and reasonably available steps to prevent the Data Breach; and failing to provide Plaintiff and

Class Members prompt and accurate notice of the Data Breach.




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        13.     Plaintiff’s and Class Members’ identities are now at risk because of Defendants’

negligent conduct because the Private Information that Defendants collected and maintained has

been accessed and acquired by data thieves.

        14.     Armed with the Private Information accessed in the Data Breach, data thieves have

already engaged in identity theft and fraud and can in the future commit a variety of crimes

including, e.g., opening new financial accounts in Class Members’ names, taking out loans in Class

Members’ names, using Class Members’ information to obtain government benefits, filing

fraudulent tax returns using Class Members’ information, obtaining driver’s licenses in Class

Members’ names but with another person’s photograph, and giving false information to police

during an arrest.

        15.     As a result of the Data Breach, Plaintiff and Class Members have been exposed to

a heightened and imminent risk of fraud and identity theft. Plaintiff and Class Members must now

and in the future closely monitor their financial accounts to guard against identity theft.

        16.     Plaintiff and Class Members may also incur out of pocket costs, e.g., for purchasing

credit monitoring services, credit freezes, credit reports, or other protective measures to deter and

detect identity theft.

        17.     Plaintiff brings this class action lawsuit on behalf all those similarly situated to

address Defendants’ inadequate safeguarding of Class Members’ Private Information that it

collected and maintained, and for failing to provide timely and adequate notice to Plaintiff and

other Class Members that their information had been subject to the unauthorized access by an

unknown third party and precisely what specific type of information was accessed.




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       18.     Through this Complaint, Plaintiff seeks to remedy these harms on behalf of herself

and all similarly situated individuals whose Private Information was accessed during the Data

Breach.

       19.     Plaintiff and Class Members have a continuing interest in ensuring that their

information is and remains safe, and they should be entitled to injunctive and other equitable relief.

                                 JURISDICTION AND VENUE

       20.     This Court has subject matter jurisdiction over this action under the Class Action

Fairness Act, 28 U.S.C. § 1332(d)(2). There are at least 100 putative Class Members, the

aggregated claims of the individual Class Members exceed the sum or value of $5,000,000

exclusive of interest and costs, and members of the proposed Class, including Plaintiff, are citizens

of states different from Defendants. Defendants are citizens of Texas.

       21.     This Court has jurisdiction over Defendants through their business operations in the

Dallas Division of the Northern District of Texas, the specific nature of which occurs in this

District. Defendants’ principal place of businesses are in the Northern District of Texas.

Defendants intentionally avail themselves of the markets within this District to render the exercise

of jurisdiction by this Court just and proper.

       22.     Venue is proper in this Court pursuant to 28 U.S.C. § 1391(a)(1) because LBIG’s

principal place of business is located in the Dallas Division of the Northern District of Texas and

a substantial part of the events and omissions giving rise to this action occurred in this District.

                                             PARTIES

       23.     Plaintiff La’Tonya Williams is a resident and citizen of Charlotte, North Carolina.

       24.     Defendant Landmark is a limited liability company with its principal place of

business located in at 5750 County Road 225, Brownwood, Texas 76801. The registered agent for



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service of process is Thomas A. Munson located at 5750 County Road 225, Brownwood, Texas

76801.

         25.    Defendant LBIG is a company with its principal place of business located at 1605

Lyndon B. Johnson Freeway, Suite 700, Dallas, Texas 75234.

                                  FACTUAL ALLEGATIONS

         Defendants’ Businesses

         26.    Landmark is a third-party administrator for insurance carriers.

         27.    LBIG is an insurance group that includes numerous insurance companies, including

American Monumental Life Insurance Company, Pellerin Life Insurance Company, American

Benefit Life Insurance Company, Liberty Bankers Life Insurance Company, Continental Mutual

Insurance Company, and Capitol Life Insurance Company.

         28.    Plaintiff and Class Members are current and former customers LBIG and

Landmark.

         29.    In the course of their relationship, customers at Landmark’s clients, including

Plaintiff and Class Members, provided Defendants with at least the following: names, driver’s

license numbers, tax identification numbers, and other sensitive information.

         30.    Upon information and belief, in the course of collecting Private Information from

Plaintiff and Class Members, Defendants promised to provide confidentiality and adequate

security for the data it collected from them through its applicable privacy policy and through other

disclosures in compliance with statutory privacy requirements.

         31.    Indeed, LBIG provides on its website that:

         We will take appropriate steps to protect all information you share with us. Whenever
         you provide the site with Personal Data, we will take commercially reasonable steps to
         establish a secure connection with your web browser.




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         The site contains secured and non-secured sections. Inherent in the use of the Internet and
         Internet related technologies is some risk of disclosure of information, including without
         limitation, personal data you supply. Your use of this site and your entry of information
         are at your own risk. We cannot accept responsibility and expressly disclaims all liability
         for damage or injury that you may incur or that may result from your use of this site or
         the interception of information you provide, including without limitation, personal data,
         by a third party. 2

         32.    Plaintiff and the Class Members, as customers at Defendants’ clients, including

LBIG, relied on these promises and relied on these sophisticated business entities to keep their

sensitive Private Information confidential and securely maintained, to use this information for

business purposes only, and to make only authorized disclosures of this information. Consumers,

in general, demand security to safeguard their Private Information.

         The Data Breach

         33.    On or about October 23, 2024, Landmark began sending Plaintiff and other Data

Breach victims a Notice of Data Breach letter (the "Notice Letter"), informing them that:

         What Happened

         On or about May 13, 2024, Landmark detected suspicious activity on its system. Upon
         discovery of this incident, Landmark immediately disconnected the affected systems and
         remote access to the network and promptly engaged a specialized third-party
         cybersecurity firm and IT personnel to assist with securing the environment, as well as to
         conduct a comprehensive forensic investigation to determine the nature and scope of the
         incident. The forensic investigation concluded on or about July 24, 2024, and determined
         that there was unauthorized access to Landmark’s network and data was encrypted and
         exfiltrated from its system. The unauthorized activity occurred from May 13, 2024 to
         June 17, 2024.

         Based on these findings, Landmark began reviewing the affected systems to identify the
         individuals potentially affected by this incident and the types of information that may
         have been compromised. While this process remains ongoing, and in an abundance of
         caution, Landmark is notifying potentially affected individuals by mail on a rolling basis
         as they are identified. We determined that some of your personal information may have
         been affected by the incident.



2
    https://www.lbig.com/privacy-policy

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        What Information Was Involved

        The personal information that may have been subject to unauthorized access includes:
        name; tax identification number. For some individuals, it is possible that the following
        additional information may have been subject to unauthorized access (if this information
        was provided to Landmark): driver’s license number; passport number; and medical
        and/or health information. 3

        34.    Omitted from the Notice Letter were the identity of the cybercriminals who

perpetrated this Data Breach, the details of the root cause of the Data Breach, the vulnerabilities

exploited, and the remedial measures undertaken to ensure such a breach does not occur again. To

date, these omitted details have not been explained or clarified to Plaintiff and Class Members,

who retain a vested interest in ensuring that their Private Information remains protected.

        35.    This “disclosure” amounts to no real disclosure at all, as it fail to inform, with any

degree of specificity, Plaintiff and Class Members of the Data Breach’s critical facts. Without

these details, Plaintiff’s and Class Members’ ability to mitigate the harms resulting from the Data

Breach is severely diminished.

        36.    Despite Landmark’s intentional opacity about the root cause of this incident,

several facts may be gleaned from the Notice Letter, including: a) that this Data Breach was the

work of cybercriminals; b) that the cybercriminals first infiltrated Landmark’s networks and

systems, and downloaded data from the networks and systems (aka exfiltrated data, or in

layperson’s terms “stole” data; and c) that once inside Landmark’s networks and systems, the

cybercriminals targeted information including Plaintiff’s and Class Members’ Private Information

for download and theft.




3
       The    “Notice      Letter”.     A     sample     copy      is              available       at
https://www.maine.gov/agviewer/content/ag/985235c7-cb95-4be2-8792-
a1252b4f8318/2bd97a04-38be-40f1-94fd-9d143ea4bc9f.html

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       37.     In the context of notice of data breach letters of this type, Landmark’s use of the

phrase “may have been subject to unauthorized access” is misleading lawyer language. Companies

only send notice letters because data breach notification laws require them to do so. And such

letters are only sent to those persons who Landmark themselves has a reasonable belief that such

personal information was accessed or acquired by an unauthorized individual or entity. Landmark

cannot hide behind legalese – by sending a notice of data breach letter to Plaintiff and Class

Members, it admits that Landmark themselves has a reasonable belief that Plaintiff’s and Class

Members’ Private Information was accessed or acquired by an unknown actor – aka

cybercriminals.

       38.     Moreover, in its Notice Letter, Landmark failed to specify whether it undertook any

efforts to contact the approximate 806,000 Class Members whose data was accessed and acquired

in the Data Breach to inquire whether any of the Class Members suffered misuse of their data,

whether Class Members should report their misuse to Landmark, and whether Landmark set up

any mechanism for Class Members to report any misuse of their data.

       39.     Defendants had obligations created by the FTC Act, Gramm-Leach-Bliley Act,

contract, common law, and industry standards to keep Plaintiff’s and Class Members’ Private

Information confidential and to protect it from unauthorized access and disclosure.

       40.     Defendants did not use reasonable security procedures and practices appropriate to

the nature of the sensitive information they were maintaining for Plaintiff and Class Members,

causing the exposure of Private Information, such as encrypting the information or deleting it when

it is no longer needed.




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       41.      The attacker accessed and acquired files containing unencrypted Private

Information of Plaintiff and Class Members. Plaintiff’s and Class Members’ Private Information

was accessed and stolen in the Data Breach.

       42.      Plaintiff has been informed by Experian and Credit Karma that her Private

Information has been disseminated on the dark web, and Plaintiff further believes that the Private

Information of Class Members was subsequently sold on the dark web following the Data Breach,

as that is the modus operandi of cybercriminals that commit cyber-attacks of this type.

       Data Breaches Are Preventable

       43.      Defendants did not use reasonable security procedures and practices appropriate to

the nature of the sensitive information they were maintaining for Plaintiff and Class Members,

causing the exposure of Private Information, such as encrypting the information or deleting it when

it is no longer needed.

       44.      Defendants could have prevented this Data Breach by, among other things, properly

encrypting or otherwise protecting their equipment and computer files containing Private

Information.

       45.      As explained by the Federal Bureau of Investigation, “[p]revention is the most

effective defense against ransomware and it is critical to take precautions for protection.” 4

       46.      To prevent and detect cyber-attacks and/or ransomware attacks, Defendants could

and should have implemented, as recommended by the United States Government, the following

measures:

       •     Implement an awareness and training program. Because end users are targets,
             employees and individuals should be aware of the threat of ransomware and how it is
             delivered.

4
    How to Protect Your Networks from RANSOMWARE, at 3, available at:
https://www.fbi.gov/file-repository/ransomware-prevention-and-response-for-cisos.pdf/view

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          •       Enable strong spam filters to prevent phishing emails from reaching the end users and
                  authenticate inbound email using technologies like Sender Policy Framework (SPF),
                  Domain Message Authentication Reporting and Conformance (DMARC), and
                  DomainKeys Identified Mail (DKIM) to prevent email spoofing.

          •       Scan all incoming and outgoing emails to detect threats and filter executable files from
                  reaching end users.

          •       Configure firewalls to block access to known malicious IP addresses.

          •       Patch operating systems, software, and firmware on devices. Consider using a
                  centralized patch management system.

          •       Set anti-virus and anti-malware programs to conduct regular scans automatically.

          •       Manage the use of privileged accounts based on the principle of least privilege: no users
                  should be assigned administrative access unless absolutely needed; and those with a
                  need for administrator accounts should only use them when necessary.

          •       Configure access controls—including file, directory, and network share permissions—
                  with least privilege in mind. If a user only needs to read specific files, the user should
                  not have write access to those files, directories, or shares.

          •       Disable macro scripts from office files transmitted via email. Consider using Office
                  Viewer software to open Microsoft Office files transmitted via email instead of full
                  office suite applications.

          •       Implement Software Restriction Policies (SRP) or other controls to prevent programs
                  from executing from common ransomware locations, such as temporary folders
                  supporting popular Internet browsers or compression/decompression programs,
                  including the AppData/LocalAppData folder.

          •       Consider disabling Remote Desktop protocol (RDP) if it is not being used.

          •       Use application whitelisting, which only allows systems to execute programs known
                  and permitted by security policy.

          •       Execute operating system environments or specific programs in a virtualized
                  environment.

          •       Categorize data based on organizational value and implement physical and logical
                  separation of networks and data for different organizational units. 5




5
    Id. at 3-4.

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       47.       To prevent and detect cyber-attacks or ransomware attacks, Defendants could and

should have implemented, as recommended by the Microsoft Threat Protection Intelligence Team,

the following measures:

             Secure internet-facing assets

             -          Apply latest security updates
             -          Use threat and vulnerability management
             -          Perform regular audit; remove privileged credentials;

             Thoroughly investigate and remediate alerts

             -          Prioritize and treat commodity malware infections as potential full
                        compromise;

             Include IT Pros in security discussions

                 -       Ensure collaboration among [security operations], [security admins], and
                         [information technology] admins to configure servers and other endpoints
                         securely;

             Build credential hygiene

                 -       Use [multifactor authentication] or [network level authentication] and use
                         strong, randomized, just-in-time local admin passwords;

             Apply principle of least-privilege

             -          Monitor for adversarial activities
             -          Hunt for brute force attempts
             -          Monitor for cleanup of Event Logs
             -          Analyze logon events;

             Harden infrastructure

             -          Use Windows Defender Firewall
             -          Enable tamper protection
             -          Enable cloud-delivered protection
             -          Turn on attack surface reduction rules and [Antimalware Scan Interface]
                        for Office [Visual Basic for Applications]. 6


6
  See Human-operated ransomware attacks: A preventable disaster (Mar 5, 2020), available at:
https://www.microsoft.com/security/blog/2020/03/05/human-operated-ransomware-attacks-a-
preventable-disaster/

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       48.     Given that Landmark was storing the Private Information of its clients’ current and

former customers, Landmark could and should have implemented all of the above measures to

prevent and detect cyberattacks.

       49.     The occurrence of the Data Breach indicates that Landmark failed to adequately

implement one or more of the above measures to prevent cyberattacks, resulting in the Data Breach

and data thieves acquiring and accessing the Private Information of more than eight hundred

thousand individuals, including that of Plaintiff and Class Members.

       Defendants Acquire, Collect & Store Plaintiff’s and The Class’s Private Information

       50.     Landmark acquires, collects, and stores a massive amount of Private Information

on its clients’ current and former customers.

       51.     As a condition of obtaining services at Landmark’s clients, including LBIG,

Landmark requires that customers and other personnel entrust it with highly sensitive personal

information.

       52.     By obtaining, collecting, and using Plaintiff’s and Class Members’ Private

Information, Defendants assumed legal and equitable duties and knew or should have known that

it was responsible for protecting Plaintiff’s and Class Members’ Private Information from

disclosure.

       53.     Plaintiff and the Class Members have taken reasonable steps to maintain the

confidentiality of their Private Information and would not have entrusted it to Defendants absent

a promise to safeguard that information.

       54.     Upon information and belief, in the course of collecting Private Information from

Plaintiff and Class Members, Defendants promised to provide confidentiality and adequate




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security for their data through its applicable privacy policy and through other disclosures in

compliance with statutory privacy requirements.

       55.     Plaintiff and the Class Members relied on Defendants to keep their Private

Information confidential and securely maintained, to use this information for business purposes

only, and to make only authorized disclosures of this information.

       Defendants Knew, Or Should Have Known, of the Risk Because Insurance Companies
       and Administrators In Possession Of Private Information Are Particularly Susceptible
       To Cyber Attacks

       56.     Defendants’ data security obligations were particularly important given the

substantial increase in cyber-attacks and/or data breaches targeting insurance companies and

administrators that collect and store Private Information, like Defendants, preceding the date of

the breach.

       57.     Data breaches, including those perpetrated against insurance companies and

administrators that store Private Information in their systems, have become widespread.

       58.     In 2023, an all-time high for data compromises occurred, with 3,205 compromises

affecting 353,027,892 total victims. Of the 3,205 recorded data compromises, 809 of them, or

25.2% were in the medical or healthcare industry. The estimated number of organizations

impacted by data compromises has increased by +2,600 percentage points since 2018, and the

estimated number of victims has increased by +1400 percentage points. The 2023 compromises

represent a 78 percentage point increase over the previous year and a 72 percentage point hike

from the previous all-time high number of compromises (1,860) set in 2021.

       59.     In light of recent high profile data breaches at other industry leading companies,

including T-Mobile, USA (37 million records, February-March 2023), 23andMe, Inc. (20 million

records, October 2023), Wilton Reassurance Company (1.4 million records, June 2023), NCB




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Management Services, Inc. (1 million records, February 2023), Defendants knew or should have

known that the Private Information that they collected and maintained would be targeted by

cybercriminals.

        60.     Indeed, cyber-attacks, such as the one experienced by Defendants, have become so

notorious that the Federal Bureau of Investigation (“FBI”) and U.S. Secret Service have issued a

warning to potential targets so they are aware of, and prepared for, a potential attack. As one report

explained, smaller entities that store Private Information are “attractive to ransomware

criminals…because they often have lesser IT defenses and a high incentive to regain access to

their data quickly.” 7

        61.     Additionally, as companies became more dependent on computer systems to run

their business, 8 e.g., working remotely as a result of the Covid-19 pandemic, and the Internet of

Things (“IoT”), the danger posed by cybercriminals is magnified, thereby highlighting the need

for adequate administrative, physical, and technical safeguards. 9

        62.     Defendants knew and understood unprotected or exposed Private Information in

the custody of insurance administrators and companies, like Defendants, is valuable and highly

sought after by nefarious third parties seeking to illegally monetize that Private Information

through unauthorized access.

        63.     At all relevant times, Defendants knew, or reasonably should have known, of the

importance of safeguarding the Private Information of Plaintiff and Class Members and of the


7
         https://www.law360.com/consumerprotection/articles/1220974/fbi-secret-service-warn-of-
targeted-ransomware?nl_pk=3ed44a08-fcc2-4b6c-89f0-
aa0155a8bb51&utm_source=newsletter&utm_medium=email&utm_campaign=consumerprotect
ion
8
  https://www.federalreserve.gov/econres/notes/feds-notes/implications-of-cyber-risk-for-
financial-stability-20220512.html
9
         https://www.picussecurity.com/key-threats-and-cyber-risks-facing-financial-services-and-
banking-firms-in-2022

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foreseeable consequences that would occur if Defendants’ data security system were breached,

including, specifically, the significant costs that would be imposed on Plaintiff and Class Members

as a result of a breach.

         64.    Plaintiff and Class Members now face years of constant surveillance of their

financial and personal records, monitoring, and loss of rights. The Class is incurring and will

continue to incur such damages in addition to any fraudulent use of their Private Information.

         65.    The injuries to Plaintiff and Class Members were directly and proximately caused

by Defendants’ failure to implement or maintain adequate data security measures for the Private

Information of Plaintiff and Class Members.

         66.    The ramifications of Defendants’ failure to keep secure the Private Information of

Plaintiff and Class Members are long lasting and severe. Once Private Information is stolen––

particularly PHI––fraudulent use of that information and damage to victims may continue for

years.

         67.    In the Notice Letter, Landmark makes an offer to provide identity monitoring

services for a period of no longer than 24 months. This is wholly inadequate to compensate

Plaintiff and Class Members as it fail to provide for the fact victims of data breaches and other

unauthorized disclosures commonly face multiple years of ongoing identity theft, financial fraud,

and it entirely fail to provide sufficient compensation for the unauthorized release and disclosure

of Plaintiff’s and Class Members’ Private Information.

         68.    Landmark’s offer of credit and identity monitoring establishes that Plaintiff’s and

Class Members’ sensitive Private Information was in fact affected, accessed, compromised, and

exfiltrated from Landmark’s computer systems.




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        69.     As an insurance company and administrator in custody of the Private Information

of its clients’ customers, Defendants knew, or should have known, the importance of safeguarding

Private Information entrusted to it by Plaintiff and Class Members, and of the foreseeable

consequences if its data security systems were breached. This includes the significant costs

imposed on Plaintiff and Class Members as a result of a breach. Defendants failed, however, to

take adequate cybersecurity measures to prevent the Data Breach.

        Value Of Personally Identifying Information

        70.     The Federal Trade Commission (“FTC”) defines identity theft as “a fraud

committed or attempted using the identifying information of another person without authority.” 10

The FTC describes “identifying information” as “any name or number that may be used, alone or

in conjunction with any other information, to identify a specific person,” including, among other

things, “[n]ame, Social Security number, date of birth, official State or government issued driver’s

license or identification number, alien registration number, government passport number,

employer or taxpayer identification number.” 11

        71.     The Private Information of individuals remains of high value to criminals, as

evidenced by the prices they will pay through the dark web. Numerous sources cite dark web

pricing for stolen identity credentials. 12




10
   17 C.F.R. § 248.201 (2013).
11
   Id.
12
   Your personal data is for sale on the dark web. Here’s how much it costs, Digital Trends, Oct.
16, 2019, available at: https://www.digitaltrends.com/computing/personal-data-sold-on-the-dark-
web-how-much-it-costs/

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       72.     For example, Personal Information can be sold at a price ranging from $40 to

$200. 13 Criminals can also purchase access to entire company data breaches from $900 to $4,500. 14

       73.     Theft of PHI is also gravely serious: “[a] thief may use your name or health

insurance numbers to see a doctor, get prescription drugs, file claims with your insurance provider,

or get other care. If the thief’s health information is mixed with yours, your treatment, insurance

and payment records, and credit report may be affected.” 15

       74.     The greater efficiency of electronic health records brings the risk of privacy

breaches. These electronic health records contain a lot of sensitive information (e.g., patient data,

patient diagnosis, lab results, medications, prescriptions, treatment plans, etc.) that is valuable to

cybercriminals. One patient’s complete record can be sold for hundreds of dollars on the dark web.

As such, PHI/PII is a valuable commodity for which a “cyber black market” exists where criminals

openly post stolen payment card numbers, Social Security numbers, and other personal

information on several underground internet websites. Unsurprisingly, the pharmaceutical industry

is at high risk and is acutely affected by cyberattacks, like the Data Breach here.

       75.     Between 2005 and 2019, at least 249 million people were affected by healthcare

data breaches. 16 Indeed, during 2019 alone, over 41 million healthcare records were exposed,

stolen, or unlawfully disclosed in 505 data breaches. 17 In short, these sorts of data breaches are


13
   Here’s How Much Your Personal Information Is Selling for on the Dark Web, Experian, Dec. 6,
2017, available at: https://www.experian.com/blogs/ask-experian/heres-how-much-your-
personal-information-is-selling-for-on-the-dark-web/
14
   In the Dark, VPNOverview, 2019, available at: https://vpnoverview.com/privacy/anonymous-
browsing/in-the-dark/
15
   Medical I.D. Theft, EFraudPrevention
https://efraudprevention.net/home/education/?a=187#:~:text=A%20thief%20may%20use%20yo
ur,credit%20report%20may%20be%20affected. (last visited Nov. 6, 2023).
16
   https://www.ncbi.nlm.nih.gov/pmc/articles/PMC7349636/#B5-healthcare-08-00133/ (last
accessed July 24, 2023).
17
   https://www.hipaajournal.com/december-2019-healthcare-data-breach-report/ (last accessed
July 24, 2023).

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increasingly common, especially among healthcare systems, which account for 30.03 percent of

overall health data breaches, according to cybersecurity firm Tenable. 18

        76.     According to account monitoring company LogDog, medical data sells for $50 and

up on the Dark Web. 19

        77.     “Medical identity theft is a growing and dangerous crime that leaves its victims

with little to no recourse for recovery,” reported Pam Dixon, executive director of World Privacy

Forum. “Victims often experience financial repercussions and worse yet, they frequently discover

erroneous information has been added to their personal medical files due to the thief’s activities.”20

        78.     A study by Experian found that the average cost of medical identity theft is “about

$20,000” per incident and that most victims of medical identity theft were forced to pay out-of-

pocket costs for healthcare they did not receive to restore coverage. 21 Almost half of medical

identity theft victims lose their healthcare coverage as a result of the incident, while nearly one-

third of medical identity theft victims saw their insurance premiums rise, and 40 percent were

never able to resolve their identity theft at all. 22




18
   https://www.tenable.com/blog/healthcare-security-ransomware-plays-a-prominent-role-
incovid-19-era-breaches/ (last accessed July 24, 2023).
19
   Lisa Vaas, Ransomware Attacks Paralyze, and Sometimes Crush, Hospitals, Naked Security
(Oct. 3, 2019), https://nakedsecurity.sophos.com/2019/10/03/ransomware-attacks-paralyze-and-
sometimes-crush-hospitals/#content (last accessed July 20, 2021)
20
   Michael Ollove, “The Rise of Medical Identity Theft in Healthcare,” Kaiser Health News, Feb.
7, 2014, https://khn.org/news/rise-of-indentity-theft/ (last accessed July 24, 2023).
21
   See Elinor Mills, “Study: Medical Identity Theft is Costly for Victims,” CNET (Mar, 3, 2010),
https://www.cnet.com/news/study-medical-identity-theft-is-costly-for-victims/ (last accessed July
24, 2023).
22
   Id.; see also Healthcare Data Breach: What to Know About them and What to Do After One,
EXPERIAN, https://www.experian.com/blogs/ask-experian/healthcare-data-breach-what-
toknow-about-them-and-what-to-do-after-one/ (last accessed July 24, 2023).

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       79.     Driver’s license numbers, which were compromised in the Data Breach, are

incredibly valuable. “Hackers harvest license numbers because they’re a very valuable piece of

information." 23

       80.     A driver’s license can be a critical part of a fraudulent, synthetic identity – which

go for about $1200 on the Dark Web. On its own, a forged license can sell for around $200.” 24

       81.     According to national credit bureau Experian:

       A driver's license is an identity thief's paradise. With that one card, someone knows your
       birthdate, address, and even your height, eye color, and signature. If someone gets your
       driver's license number, it is also concerning because it's connected to your vehicle
       registration and insurance policies, as well as records on file with the Department of
       Motor Vehicles, place of employment (that keep a copy of your driver's license on file),
       doctor's office, government agencies, and other entities. Having access to that one
       number can provide an identity thief with several pieces of information they want to
       know about you. Next to your Social Security number, your driver's license number is
       one of the most important pieces of information to keep safe from thieves.

       82.     According to cybersecurity specialty publication CPO Magazine, “[t]o those

unfamiliar with the world of fraud, driver’s license numbers might seem like a relatively harmless

piece of information to lose if it happens in isolation.” 25 However, this is not the case. As

cybersecurity experts point out:

       “It’s a gold mine for hackers. With a driver’s license number, bad actors can manufacture
       fake IDs, slotting in the number for any form that requires ID verification, or use the
       information to craft curated social engineering phishing attacks.” 26



23
   Hackers Stole Customers’ License Numbers From Geico In Months-Long Breach, Forbes, Apr.
20, 2021, available at: https://www.forbes.com/sites/leemathews/2021/04/20/hackers-stole-
customers-license-numbers-from-geico-in-months-long-breach/?sh=3bda585e8658 (last visited
July 31, 2023).
24
   https://www.forbes.com/sites/leemathews/2021/04/20/hackers-stole-customers-license-
numbers-from-geico-in-months-long-breach/?sh=3e4755c38658 (last visited on Feb. 21, 2023).
25
   https://www.cpomagazine.com/cyber-security/geico-data-breach-leaks-drivers-license-
numbers-advises-customers-to-watch-out-for-fraudulent-unemployment-claims/ (last visited on
Feb. 21, 2023).
26
   Id.

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       83.     Victims of driver’s license number theft also often suffer unemployment benefit

fraud, as described in a recent New York Times article. 27

       84.     Based on the foregoing, the information compromised in the Data Breach is

significantly more valuable than the loss of, for example, credit card information in a retailer data

breach because, there, victims can cancel or close credit and debit card accounts. The information

compromised in this Data Breach is impossible to “close” and difficult, if not impossible, to

change—PHI and names.

       85.     This data demands a much higher price on the black market. Martin Walter, senior

director at cybersecurity firm RedSeal, explained, “Compared to credit card information,

personally identifiable information and Social Security numbers are worth more than 10x on the

black market.” 28

       86.     Among other forms of fraud, identity thieves may obtain driver’s licenses,

government benefits, medical services, and housing or even give false information to police.

       87.     The fraudulent activity resulting from the Data Breach may not come to light for

years. There may be a time lag between when harm occurs versus when it is discovered, and also

between when Private Information is stolen and when it is used. According to the U.S. Government

Accountability Office (“GAO”), which conducted a study regarding data breaches:

       [L]aw enforcement officials told us that in some cases, stolen data may be held for
       up to a year or more before being used to commit identity theft. Further, once stolen
       data have been sold or posted on the Web, fraudulent use of that information may


27
   How Identity Thieves Took My Wife for a Ride, NY Times, April 27, 2021, available at:
https://www.nytimes.com/2021/04/27/your-money/identity-theft-auto-insurance.html (last visited
on Feb. 21, 2023).
28
   Tim Greene, Anthem Hack: Personal Data Stolen Sells for 10x Price of Stolen Credit Card
Numbers,          IT        World,       (Feb.      6,       2015),         available       at:
https://www.networkworld.com/article/2880366/anthem-hack-personal-data-stolen-sells-for-10x-
price-of-stolen-credit-card-numbers.html

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       continue for years. As a result, studies that attempt to measure the harm resulting
       from data breaches cannot necessarily rule out all future harm. 29

       88.     Plaintiff and Class Members now face years of constant surveillance of their

financial and personal records, monitoring, and loss of rights. The Class is incurring and will

continue to incur such damages in addition to any fraudulent use of their Private Information.

       Defendants Fail To Comply With FTC Guidelines

       89.     The Federal Trade Commission (“FTC”) has promulgated numerous guides for

businesses which highlight the importance of implementing reasonable data security practices.

According to the FTC, the need for data security should be factored into all business decision-

making.

       90.     In 2016, the FTC updated its publication, Protecting Personal Information: A Guide

for Business, which established cyber-security guidelines for businesses. These guidelines note

that businesses should protect the personal consumer information that they keep; properly dispose

of personal information that is no longer needed; encrypt information stored on computer

networks; understand their network’s vulnerabilities; and implement policies to correct any

security problems. 30

       91.     The guidelines also recommend that businesses use an intrusion detection system

to expose a breach as soon as it occurs; monitor all incoming traffic for activity indicating someone

is attempting to hack the system; watch for large amounts of data being transmitted from the

system; and have a response plan ready in the event of a breach. 31


29
     Report to Congressional Requesters, GAO, at 29 (June 2007), available at:
https://www.gao.gov/assets/gao-07-737.pdf
30
   Protecting Personal Information: A Guide for Business, Federal Trade Commission (2016).
Available at https://www.ftc.gov/system/files/documents/plain-language/pdf-0136_proteting-
personal-information.pdf
31
   Id.

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       92.     The FTC further recommends that companies not maintain Private Information

longer than is needed for authorization of a transaction; limit access to sensitive data; require

complex passwords to be used on networks; use industry-tested methods for security; monitor for

suspicious activity on the network; and verify that third-party service providers have implemented

reasonable security measures.

       93.     The FTC has brought enforcement actions against businesses for failing to

adequately and reasonably protect consumer data, treating the failure to employ reasonable and

appropriate measures to protect against unauthorized access to confidential consumer data as an

unfair act or practice prohibited by Section 5 of the Federal Trade Commission Act (“FTCA”), 15

U.S.C. § 45. Orders resulting from these actions further clarify the measures businesses must take

to meet their data security obligations.

       94.     These FTC enforcement actions include actions against insurance administrators

and companies, like Defendants.

       95.     Section 5 of the FTC Act, 15 U.S.C. § 45, prohibits “unfair . . . practices in or

affecting commerce,” including, as interpreted and enforced by the FTC, the unfair act or practice

by businesses, such as Defendants, of failing to use reasonable measures to protect Private

Information. The FTC publications and orders described above also form part of the basis of

Defendants’ duty in this regard.

       96.     Defendants failed to properly implement basic data security practices.

       97.     Defendants’ failure to employ reasonable and appropriate measures to protect

against unauthorized access to the Private Information of its clients’ customers or to comply with

applicable industry standards constitutes an unfair act or practice prohibited by Section 5 of the

FTC Act, 15 U.S.C. § 45.




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        98.    Upon information and belief, Defendants were at all times fully aware of its

obligation to protect the Private Information of Plaintiff and Class Members, Defendants were also

aware of the significant repercussions that would result from its failure to do so. Accordingly,

Defendants’ conduct was particularly unreasonable given the nature and amount of Private

Information they obtained and stored and the foreseeable consequences of the immense damages

that would result to Plaintiff and the Class.

        Defendants Failed to Comply with the Gramm-Leach-Bliley Act

        99.    Defendants are financial institutions, as that term is defined by Section 509(3)(A)

of the Gramm-Leach-Bliley Act (“GLBA”), 15 U.S.C. § 6809(3)(A), and thus is subject to the

GLBA.

        100.   The GLBA defines a financial institution as “any institution the business of which

is engaging in financial activities as described in Section 1843(k) of Title 12 [The Bank Holding

Company Act of 1956].” 15 U.S.C. § 6809(3)(A).

        101.   Defendants collect nonpublic personal information, as defined by 15 U.S.C. §

6809(4)(A), 16 C.F.R. § 313.3(n) and 12 C.F.R. § 1016.3(p)(1). Accordingly, during the relevant

time period Defendants were subject to the requirements of the GLBA, 15 U.S.C. §§ 6801.1, et

seq., and is subject to numerous rules and regulations promulgated on the GLBA statutes.

        102.   The GLBA Privacy Rule became effective on July 1, 2001. See 16 C.F.R. Part 313.

Since the enactment of the Dodd-Frank Act on July 21, 2010, the CFPB became responsible for

implementing the Privacy Rule. In December 2011, the CFPB restated the implementing

regulations in an interim final rule that established the Privacy of Consumer Financial Information,

Regulation P, 12 C.F.R. § 1016 (“Regulation P”), with the final version becoming effective on

October 28, 2014.




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       103.    Accordingly, Defendants’ conduct is governed by the Privacy Rule prior to

December 30, 2011 and by Regulation P after that date.

       104.    Both the Privacy Rule and Regulation P require financial institutions to provide

customers with an initial and annual privacy notice. These privacy notices must be “clear and

conspicuous.” 16 C.F.R. §§ 313.4 and 313.5; 12 C.F.R. §§ 1016.4 and 1016.5. “Clear and

conspicuous means that a notice is reasonably understandable and designed to call attention to the

nature and significance of the information in the notice.” 16 C.F.R. § 313.3(b)(1); 12 C.F.R. §

1016.3(b)(1). These privacy notices must “accurately reflect[] [the financial institution’s] privacy

policies and practices.” 16 C.F.R. § 313.4 and 313.5; 12 C.F.R. §§ 1016.4 and 1016.5. They must

include specified elements, including the categories of nonpublic personal information the

financial institution collects and discloses, the categories of third parties to whom the financial

institution discloses the information, and the financial institution’s security and confidentiality

policies and practices for nonpublic personal information. 16 C.F.R. § 313.6; 12 C.F.R. § 1016.6.

These privacy notices must be provided “so that each consumer can reasonably be expected to

receive actual notice.” 16 C.F.R. § 313.9; 12 C.F.R. § 1016.9. As alleged herein, Defendants

violated the Privacy Rule and Regulation P.

       105.    Upon information and belief, Defendants failed to provide annual privacy notices

to customers after the customer relationship ended, despite retaining these customers’ Private

Information and storing that Private Information on Landmark’s network systems.

       106.    Defendants failed to adequately inform their customers that they were storing

and/or sharing, or would store and/or share, the customers’ Private Information on an insecure

platform, accessible to unauthorized parties from the internet, and would do so after the customer

relationship ended.




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       107.    The Safeguards Rule, which implements Section 501(b) of the GLBA, 15 U.S.C. §

6801(b), requires financial institutions to protect the security, confidentiality, and integrity of

customer information by developing a comprehensive written information security program that

contains reasonable administrative, technical, and physical safeguards, including: (1) designating

one or more employees to coordinate the information security program; (2) identifying reasonably

foreseeable internal and external risks to the security, confidentiality, and integrity of customer

information, and assessing the sufficiency of any safeguards in place to control those risks; (3)

designing and implementing information safeguards to control the risks identified through risk

assessment, and regularly testing or otherwise monitoring the effectiveness of the safeguards’ key

controls, systems, and procedures; (4) overseeing service providers and requiring them by contract

to protect the security and confidentiality of customer information; and (5) evaluating and

adjusting the information security program in light of the results of testing and monitoring, changes

to the business operation, and other relevant circumstances. 16 C.F.R. §§ 314.3 and 314.4.

       108.    As alleged herein, Defendants violated the Safeguard Rule.

       109.    Defendants failed to assess reasonably foreseeable risks to the security,

confidentiality, and integrity of customer information and failed to monitor the systems of its IT

partners or verify the integrity of those systems.

       110.    Defendants violated the GLBA and its own policies and procedures by sharing the

Private Information of Plaintiff and Class Members with a non-affiliated third party without

providing Plaintiff and Class Members (a) an opt-out notice and (b) a reasonable opportunity to

opt out of such disclosure.




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         Defendants Fail To Comply With Industry Standards

         111.   As noted above, experts studying cyber security routinely identify insurance

administrators and companies in possession of Private Information as being particularly vulnerable

to cyberattacks because of the value of the Private Information which they collect and maintain.

         112.   Several best practices have been identified that, at a minimum, should be

implemented by insurance administrators and companies in possession of Private Information, like

Defendants, including but not limited to: educating all employees; strong passwords; multi-layer

security, including firewalls, anti-virus, and anti-malware software; encryption, making data

unreadable without a key; multi-factor authentication; backup data and limiting which employees

can access sensitive data. Defendants failed to follow these industry best practices, including a

failure to implement multi-factor authentication.

         113.   Other best cybersecurity practices that are standard for insurance administrators and

companies include installing appropriate malware detection software; monitoring and limiting the

network ports; protecting web browsers and email management systems; setting up network

systems such as firewalls, switches and routers; monitoring and protection of physical security

systems; protection against any possible communication system; training staff regarding critical

points. Defendants failed to follow these cybersecurity best practices, including failure to train

staff.

         114.   Upon information and belief Defendants failed to meet the minimum standards of

one or more of the following frameworks: the NIST Cybersecurity Framework Version 2.0

(including without limitation PR.AA-01, PR.AA.-02, PR.AA-03, PR.AA-04, PR.AA-05, PR.AT-

01, PR.DS-01, PR-DS-02, PR.DS-10, PR.PS-01, PR.PS-02, PR.PS-05, PR.IR-01, DE.CM-01,

DE.CM-03, DE.CM-06, DE.CM-09, and RS.CO-04), and the Center for Internet Security’s




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Critical Security Controls (CIS CSC), which are all established standards in reasonable

cybersecurity readiness.

       115.    These foregoing frameworks are existing and applicable industry standards for

insurance administrators and companies, and upon information and belief, Defendants failed to

comply with at least one––or all––of these accepted standards, thereby opening the door to the

threat actor and causing the Data Breach.

       Common Injuries & Damages

       116.    As a result of Defendants’ ineffective and inadequate data security practices, the

Data Breach, and the foreseeable consequences of Private Information ending up in the possession

of criminals, the risk of identity theft to the Plaintiff and Class Members has materialized and is

imminent, and Plaintiff and Class Members have all sustained actual injuries and damages,

including: (i) invasion of privacy; (ii) theft of their Private Information; (iii) lost or diminished

value of Private Information; (iv) uncompensated lost time and opportunity costs associated with

attempting to mitigate the actual consequences of the Data Breach; (v) loss of benefit of the

bargain; (vi) lost opportunity costs associated with attempting to mitigate the actual consequences

of the Data Breach; (vii) nominal damages; and (viii) the continued and certainly increased risk to

their Private Information, which: (a) remains unencrypted and available for unauthorized third

parties to access and abuse; and (b) remains backed up in Defendants’ possession and is subject to

further unauthorized disclosures so long as Defendants fail to undertake appropriate and adequate

measures to protect the Private Information.

       Data Breaches Increase Victims' Risk Of Identity Theft

       117.    As Plaintiff has already experienced, the unencrypted Private Information of Class

Members will end up for sale on the dark web as that is the modus operandi of hackers.




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       118.    Unencrypted Private Information may also fall into the hands of companies that

will use the detailed Private Information for targeted marketing without the approval of Plaintiff

and Class Members. Simply put, unauthorized individuals can easily access the Private

Information of Plaintiff and Class Members.

       119.    The link between a data breach and the risk of identity theft is simple and well

established. Criminals acquire and steal Private Information to monetize the information.

Criminals monetize the data by selling the stolen information on the black market to other

criminals who then utilize the information to commit a variety of identity theft related crimes

discussed below.

       120.    Plaintiff’s and Class Members’ Private Information is of great value to hackers and

cyber criminals, and the data stolen in the Data Breach has been used and will continue to be used

in a variety of sordid ways for criminals to exploit Plaintiff and Class Members and to profit off

their misfortune.

       121.    One such example of criminals piecing together bits and pieces of compromised

Private Information for profit is the development of “Fullz” packages. 32



32
   “Fullz” is fraudster speak for data that includes the information of the victim, including, but not
limited to, the name, address, credit card information, social security number, date of birth, and
more. As a rule of thumb, the more information you have on a victim, the more money that can be
made off of those credentials. Fullz are usually pricier than standard credit card credentials,
commanding up to $100 per record (or more) on the dark web. Fullz can be cashed out (turning
credentials into money) in various ways, including performing bank transactions over the phone
with the required authentication details in-hand. Even “dead Fullz,” which are Fullz credentials
associated with credit cards that are no longer valid, can still be used for numerous purposes,
including tax refund scams, ordering credit cards on behalf of the victim, or opening a “mule
account” (an account that will accept a fraudulent money transfer from a compromised account)
without the victim’s knowledge. See, e.g., Brian Krebs, Medical Records for Sale in Underground
Stolen From Texas Life Insurance Firm, Krebs on Security (Sep. 18, 2014),
https://krebsonsecuritv.eom/2014/09/medical-records-for-sale-in-underground-stolen-from-texas-
life-insurance-](https://krebsonsecuritv.eom/2014/09/medical-records-for-sale-in-underground-
stolen-from-texas-life-insurance-finn/

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       122.    With “Fullz” packages, cyber-criminals can cross-reference two sources of Private

Information to marry unregulated data available elsewhere to criminally stolen data with an

astonishingly complete scope and degree of accuracy in order to assemble complete dossiers on

individuals.

       123.    The development of “Fullz” packages means here that the stolen Private

Information from the Data Breach can easily be used to link and identify it to Plaintiff’s and Class

Members’ phone numbers, email addresses, and other unregulated sources and identifiers. In other

words, even if certain information such as emails, phone numbers, or credit card numbers may not

be included in the Private Information that was exfiltrated in the Data Breach, criminals may still

easily create a Fullz package and sell it at a higher price to unscrupulous operators and criminals

(such as illegal and scam telemarketers) over and over.

       124.    The existence and prevalence of “Fullz” packages means that the Private

Information stolen from the data breach can easily be linked to the unregulated data (like contact

information) of Plaintiff and the other Class Members.

       125.    Thus, even if certain information (such as contact information) was not stolen in

the data breach, criminals can still easily create a comprehensive “Fullz” package.

       126.    Then, this comprehensive dossier can be sold—and then resold in perpetuity—to

crooked operators and other criminals (like illegal and scam telemarketers).

       Loss Of Time To Mitigate Risk Of Identity Theft & Fraud

       127.    As a result of the recognized risk of identity theft, when a Data Breach occurs, and

an individual is notified by a company that their Private Information was compromised, as in this

Data Breach, the reasonable person is expected to take steps and spend time to address the

dangerous situation, learn about the breach, and otherwise mitigate the risk of becoming a victim




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of identity theft of fraud. Failure to spend time taking steps to review accounts or credit reports

could expose the individual to greater financial harm – yet, the resource and asset of time has been

lost.

          128.   Thus, due to the actual and imminent risk of identity theft, Landmark, in its Notice

Letter instructs Plaintiff and Class Members to take the following measures to protect themselves:

“remain vigilant and take steps to protect yourself against incidents of identity theft and fraud,

including monitoring your accounts, account statements, and free credit reports for suspicious or

unauthorized activity.” 33

          129.   In addition, Landmark’s Notice letter includes multiple pages devoted to “Steps

You Can Take To Help Protect Your Information” that recommend Plaintiff and Class Members

to partake in activities such as monitoring their accounts, placing security freezes and fraud alerts

on their accounts, and contacting consumer reporting bureaus. 34

          130.   Landmark’s extensive suggestion of steps that Plaintiff and Class Members must

take in order to protect themselves from identity theft and/or fraud demonstrates the significant

time that Plaintiff and Class Members must undertake in response to the Data Breach. Plaintiff’s

and Class Members’ time is highly valuable and irreplaceable, and accordingly, Plaintiff and Class

Members suffered actual injury and damages in the form of lost time that they spent on mitigation

activities in response to the Data Breach and at the direction of Landmark’s Notice Letter.

          131.   Plaintiff and Class Members have spent, and will spend additional time in the

future, on a variety of prudent actions, such as researching and verifying the legitimacy of the Data

Breach. Accordingly, the Data Breach has caused Plaintiff and Class Members to suffer actual

injury in the form of lost time—which cannot be recaptured—spent on mitigation activities.


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     Notice Letter.
34
     Id.

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        132.    Plaintiff’s mitigation efforts are consistent with the U.S. Government

Accountability Office that released a report in 2007 regarding data breaches (“GAO Report”) in

which it noted that victims of identity theft will face “substantial costs and time to repair the

damage to their good name and credit record.” 35

        133.    Plaintiff’s mitigation efforts are also consistent with the steps that FTC

recommends that data breach victims take several steps to protect their personal and financial

information after a data breach, including: contacting one of the credit bureaus to place a fraud

alert (consider an extended fraud alert that lasts for seven years if someone steals their identity),

reviewing their credit reports, contacting companies to remove fraudulent charges from their

accounts, placing a credit freeze on their credit, and correcting their credit reports. 36

        134.    And for those Class Members who experience actual identity theft and fraud, the

United States Government Accountability Office released a report in 2007 regarding data breaches

(“GAO Report”) in which it noted that victims of identity theft will face “substantial costs and

time to repair the damage to their good name and credit record.”[4]

        Diminution of Value of Private Information

        135.    PII and PHI are valuable property rights. 37 Their value is axiomatic, considering the

value of Big Data in corporate America and the consequences of cyber thefts include heavy prison

sentences. Even this obvious risk to reward analysis illustrates beyond doubt that Private

Information has considerable market value.



35
   See United States Government Accountability Office, GAO-07-737, Personal Information: Data
Breaches Are Frequent, but Evidence of Resulting Identity Theft Is Limited; However, the Full
Extent Is Unknown (June 2007), https://www.gao.gov/new.items/d07737.pdf.
36
   See Federal Trade Commission, Identity Theft.gov, https://www.identitytheft.gov/Steps
37
    See “Data Breaches Are Frequent, but Evidence of Resulting Identity Theft Is Limited;
However, the Full Extent Is Unknown,” p. 2, U.S. Government Accountability Office, June 2007,
https://www.gao.gov/new.items/d07737.pdf (“GAO Report”).

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        136.    Sensitive Private Information can sell for as much as $363 per record according to

the Infosec Institute. 38

        137.    An active and robust legitimate marketplace for Private Information also exists. In

2019, the data brokering industry was worth roughly $200 billion. 39

        138.    In fact, the data marketplace is so sophisticated that consumers can actually sell

their non-public information directly to a data broker who in turn aggregates the information and

provides it to marketers or app developers. 40,41

        139.    Consumers who agree to provide their web browsing history to the Nielsen

Corporation can receive up to $50.00 a year. 42

        140.    As a result of the Data Breach, Plaintiff’s and Class Members’ Private Information,

which has an inherent market value in both legitimate and dark markets, has been damaged and

diminished by its compromise and unauthorized release. However, this transfer of value occurred

without any consideration paid to Plaintiff or Class Members for their property, resulting in an

economic loss. Moreover, the Private Information is now readily available, and the rarity of the

Data has been lost, thereby causing additional loss of value.

        141.    At all relevant times, Defendants knew, or reasonably should have known, of the

importance of safeguarding the Private Information of Plaintiff and Class Members, and of the

foreseeable consequences that would occur if Defendants’ data security system were breached,


38
   See, e.g., John T. Soma, et al, Corporate Privacy Trend: The “Value” of Personally Identifiable
Information (“Private Information”) Equals the “Value" of Financial Assets, 15 Rich. J.L. & Tech.
11, at *3-4 (2009) (“Private Information, which companies obtain at little cost, has quantifiable
value that is rapidly reaching a level comparable to the value of traditional financial assets.”)
(citations omitted).
39
   See Ashiq Ja, Hackers Selling Healthcare Data in the Black Market, InfoSec (July 27, 2015),
https://resources.infosecinstitute.com/topic/hackers-selling-healthcare-data-in-the-black-market/
40
   https://www.latimes.com/business/story/2019-11-05/column-data-brokers
41
   https://datacoup.com/
42
   https://digi.me/what-is-digime/

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including, specifically, the significant costs that would be imposed on Plaintiff and Class Members

as a result of a breach.

         142.   The fraudulent activity resulting from the Data Breach may not come to light for

years.

         143.   Plaintiff and Class Members now face years of constant surveillance of their

financial and personal records, monitoring, and loss of rights. The Class is incurring and will

continue to incur such damages in addition to any fraudulent use of their Private Information.

         144.   Landmark was, or should have been, fully aware of the unique type and the

significant volume of data on Landmark’s network, amounting to more than eight hundred

thousand individuals’ detailed personal information and, thus, the significant number of

individuals who would be harmed by the exposure of the unencrypted data.

         145.   The injuries to Plaintiff and Class Members were directly and proximately caused

by Defendants’ failure to implement or maintain adequate data security measures for the Private

Information of Plaintiff and Class Members.

         Future Cost of Credit and Identity Theft Monitoring is Reasonable and Necessary

         146.   Given the type of targeted attack in this case, sophisticated criminal activity, the

type of Private Information involved, and Plaintiff’s Private Information already being

disseminated on the dark web, there is a strong probability that entire batches of stolen information

have been placed, or will be placed, on the black market/dark web for sale and purchase by

criminals intending to utilize the Private Information for identity theft crimes –e.g., opening bank

accounts in the victims’ names to make purchases or to launder money; file false tax returns; take

out loans or lines of credit; or file false unemployment claims.




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           147.   Such fraud may go undetected until debt collection calls commence months, or even

years, later. An individual may not know that his or her Private Information was used to file for

unemployment benefits until law enforcement notifies the individual’s employer of the suspected

fraud. Fraudulent tax returns are typically discovered only when an individual’s authentic tax

return is rejected.

           148.   Consequently, Plaintiff and Class Members are at an increased risk of fraud and

identity theft for many years into the future.

           149.   The retail cost of credit monitoring and identity theft monitoring can cost around

$200 a year per Class Member. This is reasonable and necessary cost to monitor to protect Class

Members from the risk of identity theft that arose from Defendants’ Data Breach.

           Loss Of Benefit Of The Bargain

           150.   Furthermore, Defendants’ poor data security practices deprived Plaintiff and Class

Members of the benefit of their bargain. When agreeing to pay Landmark’s clients, including

LBIG, for products or services, Plaintiff and other reasonable consumers understood and expected

that they were, in part, paying for the product or service and necessary data security to protect the

Private Information, when in fact, Landmark’s did not provide the expected data security.

Accordingly, Plaintiff and Class Members received products or services that were of a lesser value

than what they reasonably expected to receive under the bargains they struck with Landmark’s

clients.

           Plaintiff La’Tonya Williams’s Experience

           151.   Plaintiff La’Tonya Williams is a current customer of LBIG, which, upon

information and belief, contracted with Landmark for services.




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          152.   As a condition of obtaining services at LBIG, she was required to provide her

Private Information to Defendants, including her name, driver’s license number, and other

sensitive information.

          153.   At the time of the Data Breach—May 13, 2024 through June 17, 2024— Landmark

maintained Plaintiff’s Private Information in its system.

          154.   Plaintiff Williams is very careful about sharing her sensitive Private Information.

Plaintiff stores any documents containing her Private Information in a safe and secure location.

she has never knowingly transmitted unencrypted sensitive Private Information over the internet

or any other unsecured source. Plaintiff would not have entrusted her Private Information to

Defendants had she known of Defendants’ lax data security policies.

          155.   Plaintiff La’Tonya Williams received the Notice Letter, by U.S. mail, directly from

Landmark, in or about October 2024. According to the Notice Letter, Plaintiff’s Private

Information was improperly accessed and obtained by unauthorized third parties, including her

name, passport number, driver’s license number, tax identification number, and medical and/or

health information.

          156.   As a result of the Data Breach, and at the direction of Landmark’s Notice Letter,

which instructs Plaintiff to “remain vigilant and take steps to protect yourself against incidents of

identity theft and fraud, including monitoring your accounts, account statements, and free credit

reports for suspicious or unauthorized activity[,]” 43 Plaintiff made reasonable efforts to mitigate

the impact of the Data Breach, including researching and verifying the legitimacy of the Data

Breach. Plaintiff has spent significant time dealing with the Data Breach₋₋valuable time Plaintiff




43
     Notice Letter.

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otherwise would have spent on other activities, including but not limited to work and/or recreation.

This time has been lost forever and cannot be recaptured.

        157.    Plaintiff suffered actual injury from having her Private Information compromised

as a result of the Data Breach including, but not limited to: (i) invasion of privacy; (ii) theft of her

Private Information; (iii) lost or diminished value of Private Information; (iv) uncompensated lost

time and opportunity costs associated with attempting to mitigate the actual consequences of the

Data Breach; (v) loss of benefit of the bargain; (vi) lost opportunity costs associated with

attempting to mitigate the actual consequences of the Data Breach; (vii) nominal damages; and

(viii) the continued and certainly increased risk to her Private Information, which: (a) remains

unencrypted and available for unauthorized third parties to access and abuse; and (b) remains

backed up in Defendants’ possession and is subject to further unauthorized disclosures so long as

Defendants fail to undertake appropriate and adequate measures to protect the Private Information.

        158.    Plaintiff further suffered actual injury in the form of her Private Information being

disseminated on the dark web, according to Experian and Credit Karma, which, upon information

and belief, was caused by the Data Breach.

        159.    Plaintiff additionally suffered actual injury in the form of experiencing an increase

in spam calls, texts, and/or emails, which, upon information and belief, was caused by the Data

Breach. This misuse of her Private Information was caused, upon information and belief, by the

fact that cybercriminals are able to easily use the information compromised in the Data Breach to

find more information about an individual, such as their phone number or email address, from

publicly available sources, including websites that aggregate and associate personal information

with the owner of such information. Criminals often target data breach victims with spam emails,




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calls, and texts to gain access to their devices with phishing attacks or elicit further personal

information for use in committing identity theft or fraud.

       160.    The Data Breach has caused Plaintiff to suffer fear, anxiety, and stress, which has

been compounded by the fact that Defendants have still not fully informed her of key details about

the Data Breach’s occurrence.

       161.    As a result of the Data Breach, Plaintiff anticipates spending considerable time and

money on an ongoing basis to try to mitigate and address harms caused by the Data Breach.

       162.    As a result of the Data Breach, Plaintiff is at a present risk and will continue to be

at increased risk of identity theft and fraud for years to come.

       163.    Plaintiff La’Tonya Williams has a continuing interest in ensuring that her Private

Information, which, upon information and belief, remains backed up in Defendants’ possession, is

protected and safeguarded from future breaches.

                                    CLASS ALLEGATIONS

       164.    Plaintiff brings this nationwide class action on behalf of herself and on behalf of all

others similarly situated, pursuant to Fed. R. Civ. P. 23(a), 23(b)(1), 23(b)(2), 23(b)(3), 23(c)(4)

and/or 23(c)(5).

       165.    The Class that Plaintiff seeks to represent is defined as follows:

       Nationwide Class
       All individuals residing in the United States whose Private Information was
       accessed and/or acquired by an unauthorized party as a result of the data breach
       reported by Landmark in October 2024 (the “Class”).

       166.    Excluded from the Class are the following individuals and/or entities: Defendants

and Defendants’ parents, subsidiaries, affiliates, officers and directors, and any entity in which

Defendants have a controlling interest; all individuals who make a timely election to be excluded




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from this proceeding using the correct protocol for opting out; and all judges assigned to hear any

aspect of this litigation, as well as their immediate family members.

       167.    Plaintiff reserves the right to amend the definitions of the Class or add a Class or

Subclass if further information and discovery indicate that the definitions of the Class should be

narrowed, expanded, or otherwise modified.

       168.    Numerosity: The members of the Class are so numerous that joinder of all members

is impracticable, if not completely impossible. According to the breach report submitted to the

Office of the Maine Attorney General, at least 806,000 Class Members were impacted in the Data

Breach. 44 The Class is apparently identifiable within Defendants’ records, and Landmark has

already identified these individuals (as evidenced by sending them breach notification letters).

       169.    Common questions of law and fact exist as to all members of the Class and

predominate over any questions affecting solely individual members of the Class. Among the

questions of law and fact common to the Class that predominate over questions which may affect

individual Class members, including the following:

           a. Whether and to what extent Defendants had a duty to protect the Private

               Information of Plaintiff and Class Members;

           b. Whether Defendants had respective duties not to disclose the Private Information

               of Plaintiff and Class Members to unauthorized third parties;

           c. Whether Defendants had respective duties not to use the Private Information of

               Plaintiff and Class Members for non-business purposes;

           d. Whether Defendants failed to adequately safeguard the Private Information of

               Plaintiff and Class Members;


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                     https://www.maine.gov/agviewer/content/ag/985235c7-cb95-4be2-8792-
a1252b4f8318/2bd97a04-38be-40f1-94fd-9d143ea4bc9f.html

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           e. Whether and when Defendants actually learned of the Data Breach;

           f. Whether Defendants adequately, promptly, and accurately informed Plaintiff and

              Class Members that their Private Information had been compromised;

           g. Whether Defendants violated the law by failing to promptly notify Plaintiff and

              Class Members that their Private Information had been compromised;

           h. Whether Defendants failed to implement and maintain reasonable security

              procedures and practices appropriate to the nature and scope of the information

              compromised in the Data Breach;

           i. Whether Defendants adequately addressed and fixed the vulnerabilities which

              permitted the Data Breach to occur;

           j. Whether Plaintiff and Class Members are entitled to actual damages and/or nominal

              damages as a result of Defendants’ wrongful conduct;

           k. Whether Plaintiff and Class Members are entitled to injunctive relief to redress the

              imminent and currently ongoing harm faced as a result of the Data Breach.

       170.   Typicality: Plaintiff’s claims are typical of those of the other members of the Class

because Plaintiff, like every other Class Member, was exposed to virtually identical conduct and

now suffers from the same violations of the law as each other member of the Class.

       171.   Policies Generally Applicable to the Class: This class action is also appropriate for

certification because Defendants acted or refused to act on grounds generally applicable to the

Class, thereby requiring the Court’s imposition of uniform relief to ensure compatible standards

of conduct toward the Class Members and making final injunctive relief appropriate with respect

to the Class as a whole. Defendants’ policies challenged herein apply to and affect Class Members




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uniformly and Plaintiff’s challenges of these policies hinges on Defendants’ conduct with respect

to the Class as a whole, not on facts or law applicable only to Plaintiff.

       172.    Adequacy: Plaintiff will fairly and adequately represent and protect the interests of

the Class Members in that she has no disabling conflicts of interest that would be antagonistic to

those of the other Class Members. Plaintiff seeks no relief that is antagonistic or adverse to the

Class Members and the infringement of the rights and the damages she has suffered are typical of

other Class Members. Plaintiff has retained counsel experienced in complex class action and data

breach litigation, and Plaintiff intend to prosecute this action vigorously.

       173.    Superiority and Manageability: The class litigation is an appropriate method for fair

and efficient adjudication of the claims involved. Class action treatment is superior to all other

available methods for the fair and efficient adjudication of the controversy alleged herein; it will

permit a large number of Class Members to prosecute their common claims in a single forum

simultaneously, efficiently, and without the unnecessary duplication of evidence, effort, and

expense that hundreds of individual actions would require. Class action treatment will permit the

adjudication of relatively modest claims by certain Class Members, who could not individually

afford to litigate a complex claim against large corporations, like Defendants. Further, even for

those Class Members who could afford to litigate such a claim, it would still be economically

impractical and impose a burden on the courts.

       174.    The nature of this action and the nature of laws available to Plaintiff and Class

Members make the use of the class action device a particularly efficient and appropriate procedure

to afford relief to Plaintiff and Class Members for the wrongs alleged because Defendants would

necessarily gain an unconscionable advantage since they would be able to exploit and overwhelm

the limited resources of each individual Class Member with superior financial and legal resources;




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the costs of individual suits could unreasonably consume the amounts that would be recovered;

proof of a common course of conduct to which Plaintiff was exposed is representative of that

experienced by the Class and will establish the right of each Class Member to recover on the cause

of action alleged; and individual actions would create a risk of inconsistent results and would be

unnecessary and duplicative of this litigation.

       175.    The litigation of the claims brought herein is manageable. Defendants’ uniform

conduct, the consistent provisions of the relevant laws, and the ascertainable identities of Class

Members demonstrates that there would be no significant manageability problems with

prosecuting this lawsuit as a class action.

       176.    Adequate notice can be given to Class Members directly using information

maintained in Defendants’ records.

       177.    Unless a Class-wide injunction is issued, Defendants may continue in their failure

to properly secure the Private Information of Class Members, Defendants may continue to refuse

to provide proper notification to Class Members regarding the Data Breach, and Defendants may

continue to act unlawfully as set forth in this Complaint.

       178.    Further, Defendants have acted on grounds that apply generally to the Class as a

whole, so that class certification, injunctive relief, and corresponding declaratory relief are

appropriate on a class- wide basis.

       179.    Likewise, particular issues are appropriate for certification because such claims

present only particular, common issues, the resolution of which would advance the disposition of

this matter and the parties’ interests therein. Such particular issues include, but are not limited to:

           a. Whether Defendants failed to timely notify the Plaintiff and the class of the Data

               Breach;




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           b. Whether Defendants owed a legal duty to Plaintiff and the Class to exercise due

               care in collecting, storing, and safeguarding their Private Information;

           c. Whether Defendants’ security measures to protect their data systems were

               reasonable in light of best practices recommended by data security experts;

           d. Whether Defendants’ failure to institute adequate protective security measures

               amounted to negligence;

           e. Whether Defendants failed to take commercially reasonable steps to safeguard

               consumer Private Information; and

           f. Whether adherence to FTC data security recommendations, and measures

               recommended by data security experts would have reasonably prevented the Data

               Breach.

                                     CAUSES OF ACTION

                                          COUNT I
                                         Negligence
                             (On Behalf of Plaintiff and the Class)

       180.    Plaintiff re-alleges and incorporates by reference all preceding allegations, as if

fully set forth herein, and brings this claim against both Defendants.

       181.    Landmark requires its clients’ customers, including Plaintiff and Class Members,

to submit non-public Private Information in the ordinary course of providing its services.

       182.    Defendants gathered and stored the Private Information of Plaintiff and Class

Members as part of its business of soliciting its services to its clients and/or customers, which

solicitations and services affect commerce.

       183.    Plaintiff and Class Members entrusted Defendants with their Private Information

with the understanding that Defendants would safeguard their information.




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       184.    Defendants had full knowledge of the sensitivity of the Private Information and the

types of harm that Plaintiff and Class Members could and would suffer if the Private Information

were wrongfully disclosed.

       185.    By voluntarily undertaking and assuming the responsibility to collect and store this

data, and in fact doing so, and sharing it and using it for commercial gain, Defendants had a duty

of care to use reasonable means to secure and safeguard their computer property—and Class

Members’ Private Information held within it—to prevent disclosure of the information, and to

safeguard the information from theft. Defendants’ duty included a responsibility to implement

processes by which they could detect a breach of its security systems in a reasonably expeditious

period of time and to give prompt notice to those affected in the case of a data breach.

       186.    Defendants had a duty to employ reasonable security measures under Section 5 of

the Federal Trade Commission Act, 15 U.S.C. § 45, which prohibits “unfair . . . practices in or

affecting commerce,” including, as interpreted and enforced by the FTC, the unfair practice of

failing to use reasonable measures to protect confidential data.

       187.    Defendants’ duty to use reasonable security measures also arose under the GLBA,

under which they were required to protect the security, confidentiality, and integrity of customer

information by developing a comprehensive written information security program that contains

reasonable administrative, technical, and physical safeguards.

       188.    Defendants owed a duty of care to Plaintiff and Class Members to provide data

security consistent with industry standards and other requirements discussed herein, and to ensure

that its systems and networks adequately protected the Private Information.

       189.    Defendants’ duty of care to use reasonable security measures arose as a result of

the special relationship that existed between Defendants and Plaintiff and Class Members. That




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special relationship arose because Plaintiff and the Class entrusted Defendants with their

confidential Private Information, a necessary part of being customers at Landmark’s clients,

including LBIG.

           190.   Defendants’ duty to use reasonable care in protecting confidential data arose not

only as a result of the statutes and regulations described above, but also because Defendants are

bound by industry standards to protect confidential Private Information.

           191.   Defendants were subject to an “independent duty,” untethered to any contract

between Defendants and Plaintiff or the Class.

           192.   Defendants also had a duty to exercise appropriate clearinghouse practices to

remove former customers’ Private Information it was no longer required to retain pursuant to

regulations.

           193.   Moreover, Defendants had a duty to promptly and adequately notify Plaintiff and

the Class of the Data Breach.

           194.   Defendants had and continues to have a duty to adequately disclose that the Private

Information of Plaintiff and the Class within Defendants’ possession might have been

compromised, how it was compromised, and precisely the types of data that were compromised

and when. Such notice was necessary to allow Plaintiff and the Class to take steps to prevent,

mitigate, and repair any identity theft and the fraudulent use of their Private Information by third

parties.

           195.   Defendants breached their duties, pursuant to the FTC Act, GLBA, and other

applicable standards, and thus was negligent, by failing to use reasonable measures to protect Class

Members’ Private Information. The specific negligent acts and omissions committed by

Defendants include, but are not limited to, the following:




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           a. Failing to adopt, implement, and maintain adequate security measures to safeguard

              Class Members’ Private Information;

           b. Failing to adequately monitor the security of their networks and systems;

           c. Allowing unauthorized access to Class Members’ Private Information;

           d. Failing to detect in a timely manner that Class Members’ Private Information had

              been compromised;

           e. Failing to remove former customers’ Private Information it was no longer required

              to retain pursuant to regulations, and

           f. Failing to timely and adequately notify Class Members about the Data Breach’s

              occurrence and scope, so that they could take appropriate steps to mitigate the

              potential for identity theft and other damages.

       196.   Defendants violated Section 5 of the FTC Act and GLBA by failing to use

reasonable measures to protect Private Information and not complying with applicable industry

standards, as described in detail herein. Defendants’ conduct was particularly unreasonable given

the nature and amount of Private Information it obtained and stored and the foreseeable

consequences of the immense damages that would result to Plaintiff and the Class.

       197.   Plaintiff and Class Members were within the class of persons the Federal Trade

Commission Act and GLBA were intended to protect and the type of harm that resulted from the

Data Breach was the type of harm that the statutes were intended to guard against.

       198.   Defendants’ violation of Section 5 of the FTC Act and GLBA constitutes

negligence.




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       199.    The FTC has pursued enforcement actions against businesses, which, as a result of

their failure to employ reasonable data security measures and avoid unfair and deceptive practices,

caused the same harm as that suffered by Plaintiff and the Class.

       200.    A breach of security, unauthorized access, and resulting injury to Plaintiff and the

Class was reasonably foreseeable, particularly in light of Defendants’ inadequate security

practices.

       201.    It was foreseeable that Defendants’ failure to use reasonable measures to protect

Class Members’ Private Information would result in injury to Class Members. Further, the breach

of security was reasonably foreseeable given the known high frequency of cyberattacks and data

breaches in the insurance industry.

       202.    Defendants have full knowledge of the sensitivity of the Private Information and

the types of harm that Plaintiff and the Class could and would suffer if the Private Information

were wrongfully disclosed.

       203.    Plaintiff and the Class were the foreseeable and probable victims of any inadequate

security practices and procedures. Defendants knew or should have known of the inherent risks in

collecting and storing the Private Information of Plaintiff and the Class, the critical importance of

providing adequate security of that Private Information, and the necessity for encrypting Private

Information stored on Defendants’ systems or transmitted through third party systems.

       204.    It was therefore foreseeable that the failure to adequately safeguard Class Members’

Private Information would result in one or more types of injuries to Class Members.

       205.    Plaintiff and the Class had no ability to protect their Private Information that was

in, and possibly remains in, Defendants’ possession.




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       206.    Defendants were in a position to protect against the harm suffered by Plaintiff and

the Class as a result of the Data Breach.

       207.    Defendants’ duty extended to protecting Plaintiff and the Class from the risk of

foreseeable criminal conduct of third parties, which has been recognized in situations where the

actor’s own conduct or misconduct exposes another to the risk or defeats protections put in place

to guard against the risk, or where the parties are in a special relationship. See Restatement

(Second) of Torts § 302B. Numerous courts and legislatures have also recognized the existence of

a specific duty to reasonably safeguard personal information.

       208.    Defendants have admitted that the Private Information of Plaintiff and the Class

was wrongfully lost and disclosed to unauthorized third persons as a result of the Data Breach.

       209.    But for Defendants’ wrongful and negligent breach of duties owed to Plaintiff and

the Class, the Private Information of Plaintiff and the Class would not have been compromised.

       210.    There is a close causal connection between Defendants’ failure to implement

security measures to protect the Private Information of Plaintiff and the Class and the harm, or risk

of imminent harm, suffered by Plaintiff and the Class. The Private Information of Plaintiff and the

Class was lost and accessed as the proximate result of Defendants’ failure to exercise reasonable

care in safeguarding such Private Information by adopting, implementing, and maintaining

appropriate security measures.

       211.    As a direct and proximate result of Defendants’ negligence, Plaintiff and the Class

have suffered and will suffer injury, including but not limited to: (i) invasion of privacy; (ii) theft

of their Private Information; (iii) lost or diminished value of Private Information; (iv)

uncompensated lost time and opportunity costs associated with attempting to mitigate the actual

consequences of the Data Breach; (v) loss of benefit of the bargain; (vi) lost opportunity costs




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associated with attempting to mitigate the actual consequences of the Data Breach; (vii) Plaintiff’s

Private Information being disseminated on the dark web, according to Credit Karma and Experian;

(viii) experiencing an increase in spam calls, texts, and/or emails; (ix) nominal damages; and (x)

the continued and certainly increased risk to their Private Information, which: (a) remains

unencrypted and available for unauthorized third parties to access and abuse; and (b) remains

backed up in Defendants’ possession and is subject to further unauthorized disclosures so long as

Defendants fail to undertake appropriate and adequate measures to protect the Private Information.

       212.    Additionally, as a direct and proximate result of Defendants’ negligence, Plaintiff

and the Class have suffered and will suffer the continued risks of exposure of their Private

Information, which remain in Defendants’ possession and is subject to further unauthorized

disclosures so long as Defendants fail to undertake appropriate and adequate measures to protect

the Private Information in its continued possession.

       213.    Plaintiff and Class Members are entitled to compensatory and consequential

damages suffered as a result of the Data Breach.

       214.    Plaintiff and Class Members are also entitled to injunctive relief requiring

Defendants to (i) strengthen its data security systems and monitoring procedures; (ii) submit to

future annual audits of those systems and monitoring procedures; and (iii) continue to provide

adequate credit monitoring to all Class Members.

                                         COUNT II
                                 Breach of Implied Contract
                             (On Behalf of Plaintiff and the Class)

       215.    Plaintiff re-alleges and incorporates by reference all preceding allegations, as if

fully set forth herein, and brings this claim solely against LBIG (“Defendant” for the purposes of

this count).




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       216.    Plaintiff and Class Members were required to deliver their Private Information to

Defendant as part of the process of obtaining insurance products or services provided by

Defendant. Plaintiff and Class Members paid money, or money was paid on their behalf, to

Defendant in exchange for products or services and would not have paid for Defendant’s products

or services, or would have paid less for them, had they known that Defendant’s data security

practices were substandard.

       217.    Defendant solicited, offered, and invited Class Members to provide their Private

Information as part of Defendant’s regular business practices. Plaintiff and Class Members

accepted Defendant’s offers and provided their Private Information to Defendant.

       218.    Defendant accepted possession of Plaintiff’s and Class Members’ Private

Information for the purpose of providing services to Plaintiff and Class Members.

       219.    Plaintiff and the Class entrusted their Private Information to Defendant. In so doing,

Plaintiff and the Class entered into implied contracts with Defendant by which Defendant agreed

to safeguard and protect such information, to keep such information secure and confidential, and

to timely and accurately notify Plaintiff and the Class if their data had been breached and

compromised or stolen.

       220.    In entering into such implied contracts, Plaintiff and Class Members reasonably

believed and expected that Defendant’s data security practices complied with relevant laws and

regulations (including FTC guidelines and GLBA on data security) and were consistent with

industry standards.

       221.    Implicit in the agreement between Plaintiff and Class Members and the Defendant

to provide Private Information, was the latter’s obligation to: (a) use such Private Information for

business purposes only, (b) take reasonable steps to safeguard that Private Information, (c) prevent




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unauthorized disclosures of the Private Information, (d) provide Plaintiff and Class Members with

prompt and sufficient notice of any and all unauthorized access and/or theft of their Private

Information, (e) reasonably safeguard and protect the Private Information of Plaintiff and Class

Members from unauthorized disclosure or uses, (f) retain the Private Information only under

conditions that kept such information secure and confidential.

       222.    The mutual understanding and intent of Plaintiff and Class Members on the one

hand, and Defendant, on the other, is demonstrated by their conduct and course of dealing.

       223.    On information and belief, at all relevant times Defendant promulgated, adopted,

and implemented written privacy policies whereby it expressly promised Plaintiff and Class

Members that it would only disclose Private Information under certain circumstances, none of

which relate to the Data Breach.

       224.    On information and belief, Defendant further promised to comply with industry

standards and to make sure that Plaintiff’s and Class Members’ Private Information would remain

protected.

       225.    Plaintiff and Class Members paid money to Defendant with the reasonable belief

and expectation that Defendant would use part of its earnings to obtain adequate data security.

Defendant failed to do so.

       226.    Plaintiff and Class Members would not have entrusted their Private Information to

Defendant in the absence of the implied contract between them and Defendant to keep their

information reasonably secure.

       227.    Plaintiff and Class Members would not have entrusted their Private Information to

Defendant in the absence of their implied promise to monitor their computer systems and networks

to ensure that it adopted reasonable data security measures.




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       228.    Every contract in this State has an implied covenant of good faith and fair dealing,

which is an independent duty and may be breached even when there is no breach of a contract’s

actual and/or express terms.

       229.    Plaintiff and Class Members fully and adequately performed their obligations under

the implied contracts with Defendant.

       230.    Defendant breached the implied contracts it made with Plaintiff and the Class by

failing to safeguard and protect their personal information, by failing to delete the information of

Plaintiff and the Class once the relationship ended, and by failing to provide accurate notice to

them that personal information was compromised as a result of the Data Breach.

       231.    Defendant breached the implied covenant of good faith and fair dealing by failing

to maintain adequate computer systems and data security practices to safeguard Private

Information, failing to timely and accurately disclose the Data Breach to Plaintiff and Class

Members and continued acceptance of Private Information and storage of other personal

information after Defendant knew, or should have known, of the security vulnerabilities of the

systems that were exploited in the Data Breach.

       232.     As a direct and proximate result of Defendant’s breach of the implied contracts,

Plaintiff and Class Members sustained damages, including, but not limited to: (i) invasion of

privacy; (ii) theft of their Private Information; (iii) lost or diminished value of Private Information;

(iv) uncompensated lost time and opportunity costs associated with attempting to mitigate the

actual consequences of the Data Breach; (v) loss of benefit of the bargain; (vi) lost opportunity

costs associated with attempting to mitigate the actual consequences of the Data Breach; (vii)

Plaintiff’s Private Information being disseminated on the dark web, according to Credit Karma

and Experian; (viii) experiencing an increase in spam calls, texts, and/or emails; (ix) nominal




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damages; and (x) the continued and certainly increased risk to their Private Information, which:

(a) remains unencrypted and available for unauthorized third parties to access and abuse; and (b)

remains backed up in Defendants’ possession and is subject to further unauthorized disclosures so

long as Defendants fail to undertake appropriate and adequate measures to protect the Private

Information.

         233.   Plaintiff and Class Members are entitled to compensatory, consequential, and

nominal damages suffered as a result of the Data Breach.

         234.   Plaintiff and Class Members are also entitled to injunctive relief requiring

Defendant to, e.g., (i) strengthen its data security systems and monitoring procedures; (ii) submit

to future annual audits of those systems and monitoring procedures; and (iii) immediately provide

adequate credit monitoring to all Class Members.

                                          COUNT III
                                     Unjust Enrichment
                              (On Behalf of Plaintiff and the Class)

         235.   Plaintiff re-alleges and incorporates by reference all preceding allegations, as if

fully set forth herein, and brings this claim against both Defendants.

         236.   Plaintiff brings this claim in the alternative to the breach of implied contract claim

above.

         237.   Plaintiff and Class Members conferred a monetary benefit on Defendants.

Specifically, they paid Landmark’s clients, including LBIG, for products or services in so doing

also provided Defendants with their Private Information. In exchange, Plaintiff and Class Members

should have received from Landmark and/or LBIG the products or services that were the subject

of the transaction and should have had their Private Information protected with adequate data

security.




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       238.    Defendants knew that Plaintiff and Class Members conferred a benefit upon it and

have accepted and retained that benefit by accepting and retaining the Private Information

entrusted to it. Defendants profited from Plaintiff’s retained data and used Plaintiff’s and Class

Members’ Private Information for business purposes.

       239.    Defendants failed to secure Plaintiff’s and Class Members’ Private Information

and, therefore, did not fully compensate Plaintiff or Class Members for the value that their Private

Information provided.

       240.    Defendants acquired the Private Information through inequitable record retention

as it failed to investigate and/or disclose the inadequate data security practices previously alleged.

       241.    If Plaintiff and Class Members had known that Defendants would not use adequate

data security practices, procedures, and protocols to adequately monitor, supervise, and secure

their Private Information, they would have entrusted their Private Information at Defendants or

obtained products or services at Landmark’s clients, including LBIG.

       242.    Plaintiff and Class Members have no adequate remedy at law.

       243.    Defendants enriched themselves by saving the costs it reasonably should have

expended on data security measures to secure Plaintiff’s and Class Members’ Personal

Information. Instead of providing a reasonable level of security that would have prevented the

hacking incident, Defendants instead calculated to increase their own profits at the expense of

Plaintiff and Class Members by utilizing cheaper, ineffective security measures and diverting those

funds to its own profit. Plaintiff and Class Members, on the other hand, suffered as a direct and

proximate result of Defendants’ decision to prioritize their own profits over the requisite security

and the safety of their Private Information.




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       244.    Under the circumstances, it would be unjust for Defendants to be permitted to retain

any of the benefits that Plaintiff and Class Members conferred upon them.

       245.    As a direct and proximate result of Defendants’ conduct, Plaintiff and Class

Members have suffered and will suffer injury, including but not limited to: (i) invasion of privacy;

(ii) theft of their Private Information; (iii) lost or diminished value of Private Information; (iv)

uncompensated lost time and opportunity costs associated with attempting to mitigate the actual

consequences of the Data Breach; (v) loss of benefit of the bargain; (vi) lost opportunity costs

associated with attempting to mitigate the actual consequences of the Data Breach; (vii) Plaintiff’s

Private Information being disseminated on the dark web, according to Credit Karma and Experian;

(viii) experiencing an increase in spam calls, texts, and/or emails; (ix) nominal damages; and (x)

the continued and certainly increased risk to their Private Information, which: (a) remains

unencrypted and available for unauthorized third parties to access and abuse; and (b) remains

backed up in Defendants’ possession and is subject to further unauthorized disclosures so long as

Defendants fail to undertake appropriate and adequate measures to protect the Private Information.

       246.    Plaintiff and Class Members are entitled to full refunds, restitution, and/or damages

from Defendants and/or an order proportionally disgorging all profits, benefits, and other

compensation obtained by Defendants from their wrongful conduct. This can be accomplished by

establishing a constructive trust from which the Plaintiff and Class Members may seek restitution

or compensation.

       247.    Plaintiff and Class Members may not have an adequate remedy at law against

Defendants, and accordingly, they plead this claim for unjust enrichment in addition to, or in the

alternative to, other claims pleaded herein.




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                                      PRAYER FOR RELIEF

       WHEREFORE, Plaintiff, on behalf of herself and Class Members, requests judgment

against Defendants and that the Court grants the following:

       A.      For an Order certifying the Class, and appointing Plaintiff and her Counsel to

               represent the Class;

       B.      For equitable relief enjoining Defendants from engaging in the wrongful conduct

               complained of herein pertaining to the misuse and/or disclosure of the Private

               Information of Plaintiff and Class Members;

       C.      For injunctive relief requested by Plaintiff, including but not limited to, injunctive

               and other equitable relief as is necessary to protect the interests of Plaintiff and

               Class Members, including but not limited to an order:

               i.   prohibiting Defendants from engaging in the wrongful and unlawful acts

                    described herein;

              ii.   requiring Defendants to protect, including through encryption, all data

                    collected through the course of its business in accordance with all applicable

                    regulations, industry standards, and federal, state or local laws;

             iii.   requiring Defendants to delete, destroy, and purge the personal identifying

                    information of Plaintiff and Class Members unless Defendants can provide to

                    the Court reasonable justification for the retention and use of such information

                    when weighed against the privacy interests of Plaintiff and Class Members;

             iv.    requiring Defendants to provide out-of-pocket expenses associated with the

                    prevention, detection, and recovery from identity theft, tax fraud, and/or

                    unauthorized use of their Private Information for Plaintiff’s and Class




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                 Members’ respective lifetimes;

           v.    requiring Defendants to implement and maintain a comprehensive Information

                 Security Program designed to protect the confidentiality and integrity of the

                 Private Information of Plaintiff and Class Members;

          vi.    prohibiting Defendants from maintaining the Private Information of Plaintiff

                 and Class Members on a cloud-based database;

         vii.    requiring Defendants to engage independent third-party security

                 auditors/penetration testers as well as internal security personnel to conduct

                 testing, including simulated attacks, penetration tests, and audits on

                 Defendants’ systems on a periodic basis, and ordering Defendants to promptly

                 correct any problems or issues detected by such third-party security auditors;

         viii.   requiring Defendants to engage independent third-party security auditors and

                 internal personnel to run automated security monitoring;

          ix.    requiring Defendants to audit, test, and train its security personnel regarding

                 any new or modified procedures;

           x.    requiring Defendants to segment data by, among other things, creating

                 firewalls and controls so that if one area of Defendants’ network is

                 compromised, hackers cannot gain access to portions of Defendants’ systems;

          xi.    requiring Defendants to conduct regular database scanning and securing

                 checks;

         xii.    requiring Defendants to establish an information security training program

                 that includes at least annual information security training for all employees,

                 with additional training to be provided as appropriate based upon the




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                 employees’ respective responsibilities with handling personal identifying

                 information, as well as protecting the personal identifying information of

                 Plaintiff and Class Members;

         xiii.   requiring Defendants to routinely and continually conduct internal training

                 and education, and on an annual basis to inform internal security personnel

                 how to identify and contain a breach when it occurs and what to do in

                 response to a breach;

         xiv.    requiring Defendants to implement a system of tests to assess its respective

                 employees’ knowledge of the education programs discussed in the preceding

                 subparagraphs, as well as randomly and periodically testing employees’

                 compliance with Defendants’ policies, programs, and systems for protecting

                 personal identifying information;

          xv.    requiring Defendants to implement, maintain, regularly review, and revise as

                 necessary a threat management program designed to appropriately monitor

                 Defendants’ information networks for threats, both internal and external, and

                 assess whether monitoring tools are appropriately configured, tested, and

                 updated;

         xvi.    requiring Defendants to meaningfully educate all Class Members about the

                 threats that they face as a result of the loss of their confidential personal

                 identifying information to third parties, as well as the steps affected

                 individuals must take to protect herself;

        xvii.    requiring Defendants to implement logging and monitoring programs

                 sufficient to track traffic to and from Defendants’ servers; and




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           xviii.   for a period of 10 years, appointing a qualified and independent third party

                    assessor to conduct a SOC 2 Type 2 attestation on an annual basis to evaluate

                    Defendants’ compliance with the terms of the Court’s final judgment, to

                    provide such report to the Court and to counsel for the class, and to report any

                    deficiencies with compliance of the Court’s final judgment;

      D.       For an award of damages, including actual, nominal, consequential, and punitive

               damages, as allowed by law in an amount to be determined;

      E.       For an award of attorneys’ fees, costs, and litigation expenses, as allowed by law;

      F.       For prejudgment interest on all amounts awarded; and

      G.       Such other and further relief as this Court may deem just and proper.

                                   JURY TRIAL DEMANDED

      Plaintiff hereby demands a trial by jury on all claims so triable.

Dated: October 29, 2024                       Respectfully Submitted,

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